Case 8:25-cv-01154-BAH Document 41 Filed 06/11/25 Page 1 of 26

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

*

CHILD TRENDS, INC., ET AL.,

Plaintiffs,

Vv.
0 * Civil No. 25-1154-BAH

UNITED STATES DEPARTMENT O
EDUCATION ET AL., *

Defendants. &
* * * * * * * *& * : * " * * *

MEMORANDUM OPINION

Plaintiffs Child Trends, Inc. (“Child Trends”) and RMC Research Corporation (““RMC”)
challenge the termination of statutorily authorized grant and contract programs supporting
_Comprehensive Centers and Regional Education Laboratories (“RELs”). Both programs aim to
assist education policymakers, professionals, agencies, and schools in their quest to improve

student outcomes and close achievement gaps. Plaintiffs allege that the termination of these

programs runs afoul of statutory and constitutional law and seek an injunction compelling

Defendants, including the United States Department of Education (“Department” or.“DOE”),
Linda McMahon (in her official capacity as Secretary of Education), Matthew Soldner (in his
official capacity as Acting Director of the Institute of Education Sciences), Mark Washington (in
his official capacity as Deputy Assistant Secretary for Management and Administration at the
Department of Education), the United States Department of Government Efficiency (““DOGE”),
and Amy Gleason (in her official capacities as Acting Administrator of the United States DOGE

Service and Consultant and Expert to the Department of Health and Human Services), to resume
Case 8:25-cv-01154-BAH Document 41 Filed 06/11/25 Page 2 of 26

operating the full number of Comprehensive Centers and RELS as required by law and to prevent
the termination of grants Plaintiffs received under both programs.

This matter is currently before the Court on Plaintiffs’ motion for a preliminary injunction.
ECF 16. To obtain a preliminary injunction, a movant must demonstrate: (1) that they are likely
to succeed on the merits; (2) that they are likely to suffer irreparable harm in the absence of
preliminary relief; (3) that the balance of equities tips in their favor; and (4) that an injunction is
in the public interest, ‘See Winter v. Nat. Res. Def: Council, Inc., 555 U.S. 7, 20 (2008). On May.
20, 2025, the Court held a hearing on the motion. See ECF 35 (transcript of May 20, 2025 hearing).
Upon consideration of the parties’ filings and their arguments at the hearing,' the Court DENIES ©

Plaintiffs’ motion but sets an expedited schedule for decidirig the matter on the merits.

! Plaintiffs filed the motion for a preliminary injunction on April 15, 2025, ECF 16, which is
supported by a memorandum of law and numerous exhibits, see ECFs 16-1 through 16-12.
Defendants filed a response on April 23, 2025, which was one day after the deadline. ECF 18.
Defendants belatedly sought permission to file their untimely response, see ECF 19, which the
Court now grants. Plaintiffs filed a reply on April 27, 2025. ECF 22. After the Court sought input
- from the parties on the prudence of a stay of the pending action, see ECF 25, Plaintiffs filed a
response opposing a stay, see ECF 26, and Defendants filed a short letter in support of staying the
case, see ECF 27. The Court held a hearing on the motion for a preliminary injunction on May
20, 2025. No party asked to present evidence at the hearing. Subsequently, Defendants filed a
short supplement on June 2, 2025, drawing the Court’s attention to a recent decision by another
judge of this Court. See ECF 36, at 2-3 (citing Sols. in Hometown Connections v. Noem, Civ. No.
25-885-LKG, 2025 WL 1530318, at *14 (D. Md. May 29, 2025)). Plaintiffs responded to this
notice on June 4, 2025. See ECF 37. On June 5, 2025, Defendants again filed a supplement, this
time highlighting a recent Fourth Circuit decision as well as a decision from a fellow trial court in
Washington, D.C. See ECF 38 (citing Sustainability Inst. v. Trump, No. 25-1575, 2025 WL
1587100 (4th Cir. June 5, 2025);. Ass’n for Educ. Fin. & Pol’y, Inc. v. McMahon, No. 25-CV-
00999, --- F. Supp. 3d ---, 2025 WL 1568301 (D.D.C. June 3, 2025)). Plaintiffs promptly
responded on June 6, 2025, noting the result in Widakuswara v. Lake, No. 25-5144, 2025 WL
1521355 (D.C. Cir. May 28, 2025), and Judge Boardman’s recent opinion in Maryland v.
AmeriCorps, Civ. No. 25-1363-DLB, --- F. Supp. 3d ---, 2025 WL 1585051 (D. Md. June 5, 2025),
as supportive of their respective positions. See ECF 40.

Case 8:25-cv-01154-BAH Document 41 Filed 06/11/25 Page 3 of 26

I. BACKGROUND

Plaintiff Child Trends is a non-profit entity, incorporated in the stateof New York and
headquartered in Maryland, which aims “to provide decisionmakers, especially Congress, data and
information about child well-being.” ECF 16-3, at 2 j 2 (Declaration of Child Trends President
and CEO Natalia Pane). The organization “partners with federal, state, and local. agencies to
deliver evidence-based insights that inform policies and practices affecting education, health,
economic security, and child welfare.” Jd. at 3 94. Plaintiff RMC is “a small business that for
over four decades has specialized in (a) education research and evaluation for policy development
and implementation, and (b) capacity building and technical assistance for state education
agencies.” ECF 16-4, at 2 42 (Declaration of RMC Senior Vice President Christine Dwyer). RMC —
is “headquartered in Portsmouth, NH and has regional offices in Arlington, VA; Tampa,- FL;
Denver, CO; and Portland, OR.” Id at 3 4 2. Both Plaintiffs work on efforts to support
Comprehensive Centers programming. Id. ¥ 3; see also ECF 16-3, at 5 q 9. In addition, RMC
undertakes work pursuant to the REL program. ECF 16-4, at 3] 3.

Congress established the REL program, administered by a DOE subagency called the
Institute for Education Sciences (“IES”), sixty years ago and the Comprehensive Centers program
thirty years ago. ECF 16-1, at 9. The former aims to “assist education practitioners and
policymakers by using research, evidence, and evidence-based practices to improve student
outcomes,” while the latter works with “[s]tate, local, and regional educational agencies and
schools on school improvement activities, prioritizing areas with a higher percentage of students

from low-income families and schools identified for improvement.” Jd. at 8-9. Currently, both

* Page citations refer to the ECF-generated page numbers at the top of the page. .

Case 8:25-cv-01154-BAH - Document 41 Filed 06/11/25 Page 4 of 26

programs are authorized by the Education Sciences Reform Act of 20027 (20'U.S.C. § 9501 et
seq.) (“ESRA”). The portion of the statute that authorizes RELs provides that the director of IES
"shal! enter into contracts with entities to establish a networked system of 10 [RELs]
that serve the needs of each region of the United States in accordance with the
provisions of this section. The amount of assistance allocated to each
[REL]... shall reflect the number of local educational agencies and the number of
school-age children within the region served by such [REL], as well as the cost of
providing services within the geographic area encompassed by the region.
20 U.S.C. § 9564(a). Section 9564 also delineates which entities constitute eligible applicants and
the process by which the IES director enters into contracts, providing that the director “shall enter
into contracts for a 5-year period” following a period of “competitions for contracts[.]” /d §§
9564(e)(1)(A), 9564(e)(3). Section 9602, which authorizes the Comprehensive Centers, provides
that “the Secretary [of Education] is authorized to award not less than 20 grants to local entities,
or consortia of such entities, with demonstrated expertise in providing technical assistance and
professional development in mathematics, science, and technology, especially to low-performing
schools and districts, to establish comprehensive centers.” /d. § 9602(a)(1).
Congtess funds RELs and Comprehensive Centers through annual appropriations. Most.
recently, the Appropriations Act of 2024 (“Appropriations Act” or “2024 Appropriations Act”) -
“provided that of the $5.78 billion lump-sum appropriated for carrying out school improvement
activities, “$50, 000,000 shall be available to carry out’ the Comprehensive Centers Program, with
these funds to remain available until September 30, 2025.” ECF 16- 1, at 9~10 (quoting Pub. L.
118-47, 138 Stat 460, 683 (Mar. 23, 2024)). The Appropriations Act also appropriated $793

million for IES, of which $53.7 million was intended for the REL program. Jd. at 10 (citing Joint

3 RELs are authorized under Title I of the statute, titled Education Sciences Reform, while
Comprehensive Centers are authorized under Title IJ, which is titled Educational Technical
Assistance. See Pub. L. 107-279, 116 Stat. 1941. For clarity, the Court will refer to the statute
encompassing both as the Education Sciences Reform Act or ESRA.

Case 8:25-cv-01154-BAH Document 41 Filed 06/11/25 Page 5 of 26

Explanatory Statement, Division—Departments . of Labor, Health and Human Services, and
Education, and Related Agencies Appropriations Act, 2024, at 155, https://perma.c¢/8J97-7K82
(“Joint Explanatory Statement’)). In addition, the most recent Continuing Resolution to the
‘Appropriations Act, passed in March 2025, appropriated another $50,000,000 to the
Comprehensive Centers program, with funds to remain available for obligation through September
30, 2026. Pub. L. 119-4, 139 Stat. 9, 1012 (Mar. 15, 2025). However, this Continuing Resolution —
did not extend the deadline for the funds appropriated in 2024, and the $50 million set aside for
Comprehensive Centers and the $53.7 million intended for RELs in the 2024 Appropriations Act
still must be obligated by September 30, 2025. See Pub. L. 118-47, 138 Stat 460;. Joint
Explanatory Statement; see also ECF 35, at 15:5—13 (Plaintiffs’ explanation of funding timelines).*
On September 26, 2024, the DOE awarded grants for Fiscal Years 2025-2029 to operate
several different Comprehensive Centers, ‘with Child Trends and RMC among the award
recipients. ECF 16-3, at 5] 10; ECF 16-4, at 54/8. The Department selected Child Trends to be
the prime grantee for the “Pacific East” Comprehensive Center, ECF 16-3, at 5 | 10, while it
selected RMC to “receive[] the prime grant award for the Comprehensive Center for the Gulf
Region,” ECF 16-4, at 5 § 8. Child Trends also participated as a partner organization, or
subcontractor, with the prime grantee for the Northwest Comprehensive Center, ECF 16-3, at 5 |
11, while RMC served a subcontractor to the Content Center on Strengthening and Supporting the

Educator Workforce (SSEW), and to the National Comprehensive Center (NCC), ECF 16-4, at 5

19.

4 Plaintiffs also represented that while Congress appropriates funding for both Comprehensive ~
Centers and RELs year by year, the Department awards grants and contracts thereunder on a five-
year timeline, ECF 35, at 13:23-14:5.

Case 8:25-cv-01154-BAH © Document 41 Filed 06/11/25 Page 6 of 26

In addition to the Comprehensive Centers grants, the Department also awarded REL
contracts through Fiscal Years 2022-2027, with RMC entering into several subcontracts with
prime grantees on the REL program. ECF 16-4, at 8-11 1 20-28. Plaintiffs both performed
substantive work under their Comprehensive Centers awards, see ECF 16.3, at 6 {| 12-15, while
RMC also did “significant work” under its REL agreements, ECF 16-4, at 10 ‘ 23.

Just after his inauguration, President Donald J. Trump issued Executive Order 14,151,

captioned “Ending Radical and Wasteful Government DEI Programs and Preferencing” (the “DEI

Order”). See Exec. Order No. 14,151, 90 Fed. Reg. 8339 (Jan. 20, 2025). The DEI Order provided
that each agency head, “in consultation with the Attorney General, the Director of OMB [the Office
of Management and Budget], and the Director of OPM [the Office of Personnel Management],”
shall “provide the director of the OMB witha list ofall... [fJederal grantees who received Federal
_ funding to provide or advance DEI, DEIA, or environmental justice. programs, services, or
activities since January 20, 2021.”° /d. (internal quotation marks omitted). Thereafter, DOGE was
created through Executive Order 14,158. See Exec. Order No. 14,158, 90 Fed. Reg. 8441 (Jan.
29, 2025). In the days that followed, Plaintiffs allege that DOGE team members arrived at the
DOE “and began directing agency leadership on contract and grant terminations.” ECF 1, at 13 |

43; ECF 16-1, at 13. Subsequently, on February 19, the DOE terminated Plaintiffs’

Comprehensive Centers grants, see ECF 16-3, at 6 J 16; ECF 16-4, at 7 4] 15. The Department .

also terminated the REL contracts under which RMC performed work as a partner organization.

ECF 16-4 at 11 § 28.

° “DEI” stands for Diversity, Equity, and Inclusion, while “DEIA” stands for Diversity, Equity,
Inclusion, and Accessibility. See DEI Order. ,

Case 8:25-cv-01154-BAH Document 41 Filed 06/11/25 Page7of26 _

The notice of termination sent via email to Child Trends cited their Comprehensive Center
grant’s purported inconsistency with “the Department’s priorities,” ECF 16-8, at 2, while the
formal termination letter elaborated that the grant supposedly “provide[d] funding for programs
that promote or take part in DEI initiatives,” id. at 4. The termination letter sent to RMC provided
the same rationale, ECF 16-9, at 2. Prior to the terminations, neither Plaintiff had any “indication

that the Department had any concerns” with their implementation of the Comprehensive Centers

awards. ECF 16-3, at 7 917. Rather, in the days and weeks beforehand, both “were in close

communication with the Department” and received “positive feedback” on their work. Id. at 6 {/
14; see also ECF 16-4, at 7 § 14, According to Plaintiffs, Defendants terminated eighteen out of
twenty grants under the Comprehensive Centers program and all ten REL contracts. ECF 16-1, at
14-15. Plaintiffs ascribe these terminations to DOGE. Id. at 13-14.

On February 13, 2025, the Department issued a press release announcing that it-had
“terminated [ten] contracts totaling $336 million” under the REL program on the grounds that
“review of the contracts uncovered wasteful and ideologically driven spending,” such as the
funding of “equity conversations.” Press Release, DOE, U.S. Department of Education Cancels
Additional $350 Million in Woke Spending (Feb. 13, 2025) (https: //perma.ce/J8PM-4UPM)
(“REL Press Release”). The next week, coincident-with when Plaintiffs learned of the termination

of their Comprehensive Centers grants, the Department put out another press release, which

° Plaintiffs allege that the terminations began after an “activist” posted about the Comprehensive
Centers program on X, alleging that the program “push[ed] left-wing ideologies.” ECF 16-1, at
13-14 (quoting ECF 16-7, at 2 (screenshot of the post on X)). Plaintiffs further allege that Elon
Musk, the owner of X and then “the public face of DOGE,” replied to the post. Jd’ (quoting ECF
16-7,.at 2 (screenshot of Feb. 18 Musk reply on X)). Later that day, Plaintiffs say, the activist
again posted on X, specifically tagging DOGE, and stating: “Hey, @DOGE_ED, let’s terminate
the contracts for the “comprehensive centers.” What do you think?” Jad. (quoting Christopher F.
Rufo (@realchrisrufo), X (Feb. 18, 2025, 5:08 PM), https://perma.cc/SW6Q-5QRJ). The
termination of the Comprehensive Centers grants occurred the following day.

Case 8:25-cv-01154-BAH Document 41 Filed 06/11/25. Page 8 of 26

announced cancellation of eighteen grants “totaling $226 million that were awarded under the
Comprehensive Centers Program” on the grounds that the money had allegedly been used to
“forc[e] radical agendas onto states and systems, including race-based discrimination and gender
identity ideology.” Press Release, DOE, U.S. Department of Education Cancels Divisive and
Wasteful Grants under the Comprehensive Centers Program (Feb. 19, 2025)
(https://perma.cc/N4G4-ASUV) (“Comprehensive Centers Press Release”).

Plaintiffs contend that Defendants offended federal statutory and. constitutional law by
terminating eighteen out of twenty Comprehensive Centers and all of the RELs. Plaintiffs bring
six counts in their complaint: an Administrative Procedure Act (“APA”) claim (count one), ECF
1, at 27-31 ff] 107-27; a constitutional ultra vires claim (count two), id. at 31-32 4 128-33; a
statutory ultra vires claim (count'three), id, at 32-33 J§ 13441: an ultra vires claim as to DOGE
(count four), id. at 3334 ff] 142-47; a regulatory ultra vires claim (count five), id. at 34-35 1
148-54; and a mandamus claim (count six), id. at 35-37 Jf 155-67. Plaintiffs separate out counts
one through three into two sets of claims. The first set of claims challenges Defendants’ decision
to terminate eighteen of a total of twenty Comprehensive Centers awards and all REL awards,
arguing that these actions violated the ESRA, the 2024 Appropriations Act (and subsequent
Continuing Resolution), the Impoundment Control Act (“ICA”), U.S: Const. art. II, § 3 (the “Take

’ Care Clause”), and the separation of powers under the Constitution (the “Program Claims”). ECF
1, at 27-33 9 107-41 (counts one through three); ECF 16-1, at 7. Through the “non-statutory
claims based on Defendants’ alleged constitutional and statutory violations,” Plaintiffs also
challenge the terminations of Plaintiffs’ specific grant awards (the “Termination Claims”). ECF

1, at 31-33 [J 128-41 (counts two through three); ECF 16-1, at 7-8.

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Case 8:25-cv-01154-BAH Document 41 Filed 06/11/25 Page 9 of 26

Plaintiffs seek preliminary injunctive relief on the Program and Termination Claims as well
as on their DOGE ultra vires claim, or, alternatively, on their mandamus claim. See generally
ECF 16-1; ECF 22. As to their Program Claims, they seek a preliminary injunction that would
“requir[e] Defendants to immediately operate the required numbers of grants and contracts, and to
spend the required amounts of appropriations.” ECF 16-1, at 7. As to their Termination Claims,
Plaintiffs seek an injunction “both requiring Defendants to comply: ah their statutory
requirements and prohibiting Defendants from giving effect to the termination of Plaintiffs’ awards
specifically.”” id. at 7-8. Further, “[i]n addition or in the alternative to affording preliminary
injunctive relief,” Plaintiffs also ask the Court to enter a writ of mandamus commanding
Defendants to abide by their statutory and constitutional duties. Id. at.27.8

In the hearing held on May 20, Plaintiffs focused in particular on their Program Claims,
arguing that they. would suffer irreparable harm absent a preliminary injunction. See ECF 35, at
75:18-79:24. Specifically, Plaintiffs argued that Defendants’ decision not to operate, or not
operate fully, the Comprehensive Centers and RELs deprives Plaintiffs of future bidding
opportunities for contracts and grants under both programs, which are essential for their continued
work. fd. at 75:22-76:8.

II. LEGAL STANDARD

“A preliminary injunction is an extraordinary remedy intended to protect the status quo and

prevent irreparable harm during the pendency of a lawsuit.” Di Biase v. SPX Corp., 872 F.3d 224,

7 Plaintiffs specify that they “do not bring APA claims seeking to restore their terminated awards
specifically” but only to “requir[e] Defendants to immediately operate the required numbers of
RELs and Comprehensive Centers and spend the required amounts of appropriations.” ECF 16-1,
at 18.

® Plaintiffs do not appear to have moved for preliminary injunctive relief on count five. See
generally ECF 16-1. . of
Case 8:25-cv-01154-BAH Document 41 Filed 06/11/25 Page 10 of 26

230 (4th Cir. 2017) (citations omitted). To obtain a preliminary injunction, the Plaintiffs must
establish‘four factors: (1) that they are likely to succeed on the merits; (2) that they are likely to
suffer irreparable harm if preliminary relief is not granted; (3) that the balance of equities favors
them; and (4) that an injunction is in the public interest. See Frazier v. Prince George ’s Cuty., 86
F.4th 537, 543 (4th Cir. 2023) (citing Winter, 555 U.S. at 20). When a government entity is a party
to the case, the third and fourth factors merge. Nken v. Holder, 556 U.S. 418, 435 (2009); Pursuing
Am, Greatness v. Fed Election Comm’n, 831 F.3d 500, 511 (D.C. Cir. 2016). The movant “must
_ establish all four elements in order to prevail.” Profiles, Inc. v. Bank of Am. Corp., 453 F. Supp.
3d 742, 746 (D. Md. 2020) (citing Pashby v. Delia, 709. F.3d 307, 320-21 (4th Cir. 2013),
abrogated on other grounds by Stinnie v. Holcomb, 37 F4th 977 (4th Cir. 2022).

“Mandamus is'a ‘drastic’ remedy that must be reserved for ‘extraordinary situations”
involving the performance of official acts or duties.” Cumberland Cnty. Hosp. Sys., Inc. v.
Burwell, 816 F.3d 48, 52 (4th Cir. 2016) (quoting Kerr v. U.S. Dist. Ct. for the N. Dist. Of Cal.,
426 U.S, 394, 402 (1976)). “Courts provide mandamus relief only when (1) petitioner ‘has no
other adequate means to attain the relief it desires’; (2) petitioner has shown a ‘clear and
indisputable’ right to the requested relief; and (3) the court deems the writ ‘appropriate under the
circumstances.’” In re Murphy-Brown, LLC, 907 F.3d 788, 788 (4th Cit. 2018) (quoting Cheney
v. US. Dist. Ct., 542 U.S. 367, 380-81 (2004)) (cleaned up).

Til. ANALYSIS

A. Termination and Program Claims

While Defendants generally contend that Plaintiffs’ motion for a preliminary injunction
should be denied because “the grant and contract terminations were not unlawful,” Defendants’
primary argument. is that the Court does not possess jurisdiction over Plaintiffs’ claims. ECF 18,

at 8; ECF 35, at 39:15-22. Defendants argue that Plaintiffs’ allegations are, in essence, contract

10

Case 8:25-cv-01154-BAH Document 41 Filed 06/11/25 ‘Page 11 of.26—

claims, and therefore must proceed before the Court of Federal Claims in accordance with the -

Tucker Act (28 U.S.C. §§ 1346, 1491). ECF 18, at 12 (citing Megapulse, Ine. v. Lewis, 672 F.2d
959, 967 (D.C. Cir. 1982)).? Defendants point to the Supreme Court’s recent decision staying a
preliminary injunction entered by the-district court in Department of Education v. California, 145
S. Ct. 966 (2025) (per curiam), and argue that the determination that the district court lacked
jurisdiction to order payment of money under the APA in that case should also control here. ECF
18, at 13.

“The Tucker Act grants jurisdiction to the United States Court of Federal Claims ‘to render
judgment upon any claim against the United States founded either upon the Constitution, or any
Act of Congress or any regulation of an executive department, ... or for liquidated or unliquidated
damages in cases not sounding in tort.’” Randall v. United States, 95 F.3d 339, 346 (4th Cir. 1996)
(quoting 28 U.S.C. § 1491). “Jurisdiction is exclusive in the Court of Federal Claims for claims
~ over $10,000, while district courts have concurrent jurisdiction with the Court of Federal Claims
for claims at or under $10,000.” Coleman vy. Kendall, 74 F Ath 610, 615 (4th Cir. 2023), cert.
denied, 144 8. Ct. 818 (2024) (citing Randall, 95 F.3d at 347).

The Supreme Court has previously “recognized the distinction between an action at law
for damages—which are intended to provide a victim with monetary compensation for an injury
to his person, property, or reputation—and an equitable action for specific. relief,” which may

nonetheless require the payment of some money. Bowen v. Massachusetts, 487 U.S. 879, 893

° “Absent a wavier, sovereign immunity shields the Federal Government and its agencies from
suit.” F.DIEC. v, Meyer, 510 U.S. 471, 475 (1994). Both the APA and the Tucker Act waive
sovereign immunity; under the APA, the federal government waives sovereign immunity for suits
brought by persons “suffering legal wrong because of agency action” and who seek relief “other
than money damages,” 5 U.S.C. § 702, while the Tucker Act waives sovereign immunity for “any
claim against the United States” founded in “express or implied contract with the United States,”
28 U.S.C. § 1491(a)(1). ,

11

Case 8:25-cv-01154-BAH Document 41 Filed 06/11/25 Page 12 of 26

(1988). “The fact that a judicial remedy may require one party to pay money to another is not a
“sufficient reason to characterize the relief as ‘money damages.” Jd.

“Not every claim invoking the Constitution, a federal statute, ot a regulation is cognizable
under the Tucker Act.” United States v. Mitchell, 463 U.S. 206, 216 (1983). Rather, a claim must
be one for “money damages against the United States.” Jd. “To determine whether a plaintiff
seeks primarily injunctive relief such that a district court has jurisdiction over [a plaintiff's] claim,

courts must look to the ‘essence’ of the complaint and whether the relief requested is ‘not... an

incident of, or collateral to, a monetary award.’” Coleman, 74 F. 4th at 615-16 (quoting Randall, -

95 F, 3dat 347). “The classification of a particular action as one which is or is not ‘at its essence’
a contract action depends both on the source of the rights upon which the plaintiff bases its claims,

and upon the type of relief sought (or appropriate).” Megapulse, 672 F.2d at 968.'°

© Plaintiffs argued at the May 20 hearing that Megapulse applied specifically to APA claims that
“relate[] in some way to an existing actual contractual agreement.” ECF 35, at 73:20-24. Plaintiffs
thus urge the Court not to apply Megapulse here because the Program Claims do not relate to
“actual contracts,” id. at 80:4-6, and because the Termination Claims are not raised under the APA,
which, in Plaintiffs’ view, would preclude the application of Megapulse since its “two-part test is
paper specific to the APA,” id. at 81:7-8. However, numerous other recent cases appear to apply
Megapuilse to claims involving both APA challenges to general agency action as well as the same
kind of standalone constitutional challenge that Plaintiffs bring here. See, e.g., San Francisco
United Sch. Dist. v. AmeriCorps, No. 25-CV-02425, 2025 WL 1180729, at *6—7 (N.D. Cal. Apr.
23, 2025) (applying Megapulse to claims alleging “violations of the Spending Clause” as well as
“provisions of the APA”); 4m. Bar Ass'n vy. Dep’t of Just., No. 25-cv-1263, --- F. Supp. 3d ---,
2025 WL 1388891, at *5 (D.D.C. May 14, 2025) (applying Megapulse to a standalone First
Amendment claim). As such, the Court does not find this reasoning persuasive and sees no reason
to ignore Megapulse or, more importantly, the recent Fourth Circuit decision in Sustainability
Institute v. Trump, which, while not citing explicitly to Megapulse, essentially applied it in finding
that “[w]hile the appropriation statutes authorize the agencies to award grants, it is the operative
grant agreements which entitle any particular Plaintiff to receive federal funds.” Sustainability
_Inst., 2025 WL 1587100, at *2.

12

Case 8:25-cv-01154-BAH Document 41 Filed 06/11/25 Page 13 of 26

1. Grant Termination Claims

i. Jurisdiction and Likelihood of Success on the Merits

The Court is unable to conclude that Plaintiffs are likely to succeed on the merits of their
Termination Claims in the face of Defendants’ jurisdictional challenge. And though Plaintiffs urge
the Court to see it differently, see ECF 40, atl, a recent decision from the Fourth Circuit only
lends further support to this determination. In that case, Sustainability Institute v. Trump, No. 25-
1575, 2025 WL 1587100 (4th Cir. June 5, 2025), the Fourth Circuit stayed a lower court's
preliminary injunction requiring the government to restore certain grants that were funded by
statute, finding that the government was likely to succeed in showing that the district court lacked
jurisdiction over such claims.!!

At issue in Sustainability Institute is the legality of cutting congressionally mandated
grants, including some issued by the Environmental Protection Agency (“EPA”) “under the
Environmental and Climate Justice Block Grants program, a $2.8 billion dollar appropriation that
provided that the [EPA] ‘shall...award grants for periods of up to 3 years... that benefit
disadvantaged communities ....’” Sustainability Inst. v. Trump, No. 25-CV-2152, --- F. Supp. -
3d ---, 2025 WL 1486979, at *2 (D.S.C. May 20, 2025).(Sustainability Inst. ID} (citing 42 U.S.C.
§ 7438(a)C1), (b)(1)). In that case, the plaintiffs, who filed suit against numerous government
defendants, were recipients of the grants, and they alleged that “the freezing and/or terminating of .

their grants violated their rights under the United States Constitution and the [APA].” /d@ at *1.

Ahead of the lower court’s ruling on the plaintiffs’ motion for a preliminary injunction, the

'! The Court cites to the Fourth Circuit opinion as Sustainability Inst. It also cites to two previous
decisions of the lower court. The first, Sustainability Institute v. Trump, No. 25-CV-2152, WL
1486978 (D.S.C. Apr. 29, 2025) was a jurisdictional ruling and is abbreviated as Sustainability
Inst. Tin citation. The latter, Sustainability Inst. v. Trump, No. 25-CV-2152, --- F. Supp. 3d ---,
2025 WL 1486979 (D.S.C. May 20, 2025), granted plaintiffs’ motion for a preliminary injunction
and is cited to as Sustainability Inst. IL.

. 13
Case 8:25-cv-01154-BAH ~ Document 41 Filed 06/11/25 Page 14 of 26

‘government defendants largely conceded the merits of the plaintiffs’ APA claims and “recognized
that a judgment [on those claims] would require [d]efendants to fund or negotiate grant
agreements[.]” Jd’ at *3. On May 20, 2025, the lower court issued a preliminary injunction holding ~
that the “freeze and/or termination” of many of the grants “were ultra vires acts outside the legal
authority of the [relevant federal agencies] and in violation of the United States Constitution,
constituting unlawful agency action under [the APA].” ‘Jd. at *4. The lower court “[s]et[] aside
the freeze and/or termination” of the grants at issue and “[e]njoin[ed] the [relevant agencies] from
freezing, terminating or otherwise interfering with the funding of [the relevant grants] without
written authorization from [the trial court].” Jd. After the lower court denied a stay of its
preliminary injunction, the agency defendants appealed and requested a stay pending appeal.
Sustainability Inst., 2025 WL 1587100, at *1.

The Court cannot understate the similarity of the claims at issue in Sustainability Institute
to those raised by Plaintiffs in their Termination Claims. For example, as the trial court in
Sustainability Institute noted:

Plaintiffs’ primary purpose in bringing their claims is to seek equitable, not

monetary, relief. They do not bring claims for past pecuniary harms. Rather, like

the plaintiffs in Bowen, Plaintiffs’ claims are to preserve their ongoing and

prospective agreements with the Government. Plaintiffs have an ongoing

relationship with the government and seek declaratory and injunctive relief to
confirm the Government’s future obligations towards Plaintiffs under [relevant
statutes]. Plaintiffs’ claims are about the process in which their grants were frozen,

not the monetary awards in the grants themselves. =~
Sustainability Inst., 2025 WL 1486978, at *4. This is nearly identical to the relief sought here.
Plaintiffs bring claims under the APA, as weil as nonstatutory claims seeking equitable relief,

namely to “enjoin Defendants to not give effect to the termination notices to Plaintiffs and, in

addition or in the alternative, require Defendants to immediately operate the required numbers of

14 ,

Case 8:25-cv-01154-BAH Document 41 Filed 06/11/25 Page 15 of 26

RELs and Comprehensive Centers and spend the required amounts of appropriations.” ECF 16-1,
- at 18.

The similarities between the two cases do not end there. In Sustainability Institute, the
district court reasoned that plaintiffs had alleged harms that could “only be remedied by specific,
not monetary, relief” and that the grant terminations and funding freezes at issue would cause
harms that “[m]Joney damages will not resolve,” including lost “jobs, suspension of research and
community initiatives, loss of goodwill, and: harm to the [p]laintiffs’ reputation.” Sustainability
Inst. I, 2025 WL 1486978, at *4. However, in ordering a stay of the preliminary injunction, the
Fourth Circuit disagreed with this reasoning. Sustainability Inst., 2025 WL 1587100, at *2. The
type of harm alleged in Sustainability Institute is precisely what Plaintiffs allege here, as they argue
that the grant terminations pose risks to their immediate funding needs and operational capacity,
injury to their mission of addressing challenges in education, and potential harm to their reputation.
See ECF 16-3, at 8-10 9 22-29; ECF 16-4, at 11-16 fff 29-39. Simply stated, therefore, there is
little daylight between the grant termination claims at issue in Sustainability Institute and the
Termination Claims before the.Court here.

Most notably, in staying the lower court’s decision in Sustainability Institute, the Fourth
Circuit explicitly determined that the government defendants were “likely ‘to succeed in showing”
that the Court of Federal Claims, not the district court, had exclusive jurisdiction pursuant to the
Tucker Act over claims challenging the cancellation or suspension of individual federal grants,
regardless of the framing of such claims. Sustainability Inst., 2025 WL 1587100, at *2. In doing
sO, the court emphasized that while federal law; including appropriations statutes, “authorize[s]
the agencies to award grants, it is the operative grant agreements which entitle any particular

[p]laintiff to receive federal funds.” Jd Relevant to Plaintiffs’ Termination Claims, the court

15
Case 8:25-cv-01154-BAH Document 41 Filed 06/11/25 Page 16 of 26
expressed skepticism that “awltra vires claims, which allege the [glovernment violated the
Constitution when it terminated or suspended [p]laintiffs’ grants, would provide a detour around
the Tucker Act.” Jd.

The Court is mindful that a stay of a preliminary injunction is not a decision on the merits,
see Merrill v. Milligan, 142 8. Ct. 879, 879 (2022) (Kavanaugh, J., concurring), and stresses both
that the Fourth Circuit did not make a final merits determination in Sustainability Institute and that
the Court is not doing so here. The Court is also conscious of Plaintiffs’ argument that there is
existing precedent that appears not to be called into question either by the result in Sustainability -
Institute or by the Supreme Court’s decision in California, on which the Fourth Circuit relied. See
ECF 40, at 3.'? Still, a panel opinion of the Fourth Circuit has held that the government is likely
to succeed in showing that the Tucker Act precludes Article III courts from exercising jurisdiction
over any claims pertaining to individual grant agreements, even if those claims are brought as
constitutional or ultra vires actions. Sustainability Inst., 2025 WL 15 87100, at *2, In light of the

panel decision in Sustainability Institute, the Court is unable to conclude that has jurisdiction over

? Plaintiffs maintain that this Court is bound by Webster v. Doe, 486 U.S. 592 (1988), and its
progeny, in which the Supreme Court required “an express—not implied—statement from
Congress where it seeks to provide no judicial forum at all for a party to challenge the
constitutionality of a government action.” ECF 40, at 3 (citing Webster, 486 U.S. at 603).
However, the United States Court of Appeals for the D.C. Circuit appeared to disagree when, in
Widakuswara.yv. Lake, No. 25-5144, 2025 WL 1288817, at *5 (D.C. Cir. May 3, 2025), it suggested
‘that Webster does not pose a bar in sending claims pertaining to specific grants to the Court of
Federal Claims, even if brought as constitutional claims. However, this decision was later set aside
by the en banc circuit in Middle E. Broad, Networks, Inc. v. United States of Am., No. 25-5150,
2025 WL 1378735 (D.C. Cir. May 7, 2025). The Fourth Circuit’s recent panel decision further
complicated matters when it cited to Supreme Court precedent noting that “[t]he power of federal
‘courts of equity to enjoin unlawful executive action is subject to . . . implied statutory limitations.”

' Sustainability Inst., 2025 WL 1587100, at *2 (citing Armstrong v. Exceptional Child Cir., Inc.,
575 U.S. 320, 327 (2015)) (emphasis added).

16

Case 8:25-cv-01154-BAH Document 41 . Filed 06/11/25 Page 17 of 26

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Plaintiffs’ Termination Claims and thus cannot determine that Plaintiffs are likely to succeed on
the merits of their Termination Claims for the purposes of preliminary injunctive relief.

2. Program Claims

i, ° Jurisdiction

It is less clear that the decision in Sustainability Institute has bearing on the Court’s ability
to hear Plaintiffs’ Program Claims, which do not challenge the cancellation of Plaintiffs’ individual
grants and contracts but rather challenge the Defendants? decisions “not to operate the REL
program at all, and to operate only two of the required twenty Comprehensive Centers.” ECF 16-
l, at 25. In assessing whether the Court has jurisdiction over the Program Claims, the Court looks
_ to the two-part evaluation announced in Megapulse, which the Fourth Circuit endorsed in. United
States v. J&E Salvage Co., 55 F.3d 985, 987-88 (4th Cir. 1995).!3 The first prong of the
Megapulse test, as noted above, examines the “source of the rights upon which” a plaintiff bases
their claims. 672 F.2d at 968.

Plaintiffs ground their Program Claims in the APA, arguing that the decision to suspend
the REL and Comprehensive Centers programs violates numerous statutes and constitutional

32 Gs

provisions and is thus “not in accordance with law,” “contrary to constitutional right, power,
privilege, or immunity,” or “in excess of statutory La authority.” See ECF 1, at 27 ¥ 108 (citing
5 U.S.C. § 706 (2)(A)-(C)). Plaintiffs also bring their Program Claims as standalone constitutional
and ultra vires actions, see ECF 1, at 3 1-33 Ff 128-141, though the same constitutional and ultra

vires claims represent part of their “contrary to law” APA claim. Though Plaintiffs did have

individual grants and contracts through the two programs, they do not base their Program Claims:

'3 Other courts in this District have also applied Megapulse. See Sols. in Hometown Connections,
2025 WL 1530318;. Sci. Sys. & Applications, Inc. v. U.S., Civ. No. 14-2212-PWG, 2014 WL
3672908 (D. Md. July 22, 2024); Lockheed Martin Corp. v. Def: Cont. Audit Agency, 397 F. Supp.
2d 659 (D. Md. 2005).

17

Case 8:25-cv-01154-BAH Document 41 Filed 06/11/25 Page 18 of 26°

on those agreements, or even cite to the text of the agreements asa source for their claims. Indeed,

at the hearing held on May 20, Plaintiffs averred that in a hypothetical scenario involving no.

specific grant agreements but merely the recission of the programs, they would still seek to bring

the same statutory and constitutional claims as to the program cancellations as an aggrieved party

~ that had lost the opportunity to bid on contracts to operate the Comprehensive Centers and RELs.

ECF 35, at 75:1-6. The mere existence of grants and contracts does not mean that Plaintiffs’

claims are “necessarily on the contract and therefore directly within the Tucker Act.” Crowley

- Gov't Servs., Inc. v. Gen. Servs. Admin., 38 F Ath 1099, 1106-07 (D.C. Cir. 2022). And the fact

that Plaintiffs allege that Defendants “us[ed] [their] contracting powers as a means to retaliate”
likewise do not “transform” Plaintiffs’ claims into contractual ones. Navab-Safavi v. Broad. Bd.
of Governors, 650 F. Supp. 2d 40, 68 (D.D.C. 2009), aff'd sub nom., Navab-Safavi v, Glassman,
637 F.3d 311 (D.C. Cir. 2011). As such, the Court determines that the Plaintiffs are likely to
succeed in showing that the Program Claims should remain in federal district court. However, as
the Court will discuss below, a preliminary injunction is nonetheless inappropriate as Plaintiffs
have failed to establish irreparable harm.

i, Irreparable Harm ~

As to their Program Claims, Plaintiffs ask the Court to bar Defendants from “carrying out
or effectuating” their decisions to “not obligate the funds” appropriated by Congress for both
programs and order them to “immediately maintain the statutorily required number of RELs and

Comprehensive Centers.” ECF 34-1, at 2. To obtain such relief, Plaintiffs must demonstrate, infer

alia, that they are “likely to suffer [irreparable] harm in the absence of injunctive relief.” Jn re

Search Warrant Issued June 13, 2019, 942 F.3d 159, 172 (4th Cir. 2019), as amended (Oct. 31,

2019). “[TJhe basis of injunctive relief in the federal courts has always been irreparable harm,”

| 3 18

Case 8:25-cv-01154-BAH Document 41 Filed 06/11/25 Page 19 of 26

and so the Court’s analysis begins there.’4 Chaplaincy of Full Gospel Churches v. England, 454
F.3d 290, 297 (D.C. Cir. 2006).

To establish irreparable harm, a plaintiff “must make a ‘clear showing’ that it will suffer
harm that is ‘neither remote nor speculative, but actual and imminent.’” Mountain Valley Pipeline,
ELC vy. 6.56 Acres of Land, 915 F.3d 197,216 (4th Cir. 2019) (citation omitted). Additionally, the
harm “must be irreparable; meaning that it cannot be fully rectified by the final judgment after
trial.” Jd. (quotations and citations omitted). And a plaintiff seeking a preliminary injunction has
the burden to provide a “clear showing” that the “irreparable harm to be suffered by the plaintiff
from a denial of the relief [is] both ‘actual’ and ‘immediate[.]"” Direx Israel, Ltd. v. Breakthrough
Med. Corp., 952 F.2d 802, 812 (4th Cir. 1991) (quoting Dan River, Ine. v. Icahn, 701 F.2d 278,
~ 284 (4th Cir. 1983)).

‘Though the Court has no doubt that the harm alleged by Plaintiffs is real, their requested
relief is simply too dependent on unknown future events to justify the “extraordinary remedy”
sought here. Winter, 555 U.S. at 24. To elaborate, the harm that Plaintiffs articulate for their
Program Claims concerns the loss of the opportunity to bid for contracts and grants under the
Comprehensive Centers and REL programs. BCF 16-1, at 32. Plaintiffs note that they are
established entities in this field, with a long track record of successful participation in the
. programs, and thus they have a probable expectation of competitiveness in bidding for grants and
contracts. See ECF 16-4, at 2 3; ECF 16-3, at 5 9 (detailing Plaintiffs’ history and experience
in this area); ECF 35, at 79:17-20 (explaining that Plaintiffs are well positioned to bid for and win

business). At the hearing held on May 20, Plaintiffs stressed that the loss of the opportunity t to

'4 Courts may begin their analysis of a motion for a preliminary injunction with any of the Winter
factors. Washington Post v. McManus, 355 F. Supp. 3d 272, 305 (D. Md. 2019), aff'd, 944 F.3d ~
506 (4th Cir. 2019).

19

Case 8:25-cv-01154-BAH _ Document 41 ‘Filed 06/11/25 Page 20 of 26

participate in the programs would constitute an irreparable harm to their organizations,
emphasizing that the expiration of much of the congressionally appropriated funds on September
30 is both irreversible and imminent.’ ECF 35, at 75:22-76:13. And throughout the course of
this action, Plaintiffs have repeatedly reiterated that their Program Claims seek an order obligating
Defendants to “immediately maintain the statutorily required number of RELs and Comprehensive
Centers” and to obligate the congressionally appropriated funds for both programs before they

expire. ECF 34, at 2.

As an initial matter, the Court acknowledges that the type of harm alleged by Plaintiffs—

the loss of the right to bid—appears to register as an injury for Article III standing purposes. See
LSP T ransmission Holdings I, 45 F Ath at 989; Coal. of ‘MISO Transmission Customers v. FERC,
45 F 4th 1004 (D.C. Cir. 2022). However, the Court is reluctant to conclude that such harm is
irreparable to the extent that preliminary injunctive relief is warranted. The chief problem is
whether this harm is “imminent.” Mountain Valley Pipeline, 915 F.3d at 216. Here, the crucial
deadline Plaintiffs identify in relation to their Program Claims is September 30, 2025, when the
funds set aside by Congress for Comprehensive Centers and RELs in the 2024 Appropriations Act
will lapse. That date is far enough away to make it difficult for the Plaintiffs to argue, and the

Court to decide, that the harm of losing the opportunity to bid is imminent and therefore

's The Court acknowledges that Plaintiffs allege other harms that are actively ongoing, such as
risks to their immediate funding needs and operational capacity, injury to their mission of
.addressing challenges in education, and harm to their reputation. See ECF 16-3, at 8-10 {qj 22-
29; ECF 16-4, at 11-16 [| 29-39. However, at the hearing, Plaintiffs stressed that the irreparable
harm connected to their Program Claims was the loss of the opportunity to bid for grants and
- contracts under the Comprehensive Centers and REL programs. ECF 35, 75:18-76:8. The Court
has considerable doubts as to whether the more immediate harms to Plaintiffs’ day to day
operations would be redressable by the relief requested as part of Plaintiffs’ Program Claims. See
California v. Texas, 593 U.S. 659, 671 (2021) (“To determine whether an injury is redressable, a
court will consider the relationship between the judicial relief requested and the injury suffered.”).

20

Case 8:25-cv-01154-BAH Document 41 Filed 06/11/25 Page 21 of 26

irreparable. See Direx Israel, 952 F.2d at 816 (emphasizing that “where the harm is admittedly
not present or immediate but merely problematic,” injunctive relief is unavailable).

This uncertainty is amplified further by the recent decision from Judge Joun in the District
of Massachusetts in.New York vy. McMahon, Civ. No. 25-10601, --- F. Supp. 3d ---, 2025 WL
‘1463009 (D. Mass: May 22, 2025), which ordered the government to reinstate. all federal DOE
employees “whose employment was terminated or otherwise eliminated,” id. at *40, Previously,
Plaintiffs had supported their argument that the loss of the opportunity to bid for grants. was
irreparable in large part by citing to the Department’s decision to place all REL program staff ~
members, including those responsible for oversight of Department grants and contracts, on
administrative leave, with final termination of their employment set to occur by June 10. ECF 16-
12, at 3 17. Plaintiffs indicated that such a wholesale staff loss would render the government
incapable of managing funding for, and thus operating, the programs. See ECF 35, at 8:15-9:1.
However, Judge Joun’s order required the Department toreinstate all Department employees who
had been placed on administrative leave, necessarily encompassing those employees responsible
for management of Comprehensive Centers and RELs. And last week, the First Circuit declined
to stay the order pending the government’s appeal. See Somerville Pub. Schs. v. McMahon, No.
25-1495, --- F.4th ---, 2025 WL 1576570 (1st Cir. June 4, 2025). It is true that the practicability
and longevity of that order remains to be seen .!° However, that simply underscores the point that
there is too much uncertainty to be able to conclude how and when, or even whether, the alleged

harm will materialize.

'6 Notably, the government has filed an application for a stay of the injunction with the Supreme
Court. See Application to Stay Injunction, MfeMahon v. New York, No. 24A1203 (2025). At this -
stage, the Supreme Court has not made any ruling on the application but has requested a response -
from the plaintiffs, due by 4 p.m. on June 13, 2025. See Response to Application Requested by
Justice Jackson, McMahon vy. New York, No. 24A1203 (2025).

21

Case 8:25-cv-01154-BAH Document 41 Filed 06/11/25 Page 22 of 26

Now that the Department has been ordered to restore all employees to work, Plaintiffs’
argument that they face immediate and irreparable harm rests primarily on two points: the
characterization of the terminations as “savings” on DOGE’s website, see ECF 16-10, and the
Defendants’ inability to identify concrete steps taken to restore the Comprehensive Centers and
RELs to the extent required by statute, see ECF 35, at 51:7-11. While the DOGE proclamation
and Defendants’ inability to articulate any effort to fully resuscitate the shuttered programs
certainly suggest that Defendants intend to entirely cancel RELs and Comprchensive Centers,
these two pieces of evidence fall short, at least at this preliminary stage, of sufficiently establishing
a clear intent not to fund or operate both programs. The Court acknowledges that Defendants have
produced very little that shows substantive efforts to reallocate the remaining appropriated funds,
and at the hearing Defendants were “not prepared to answer” questions about future plans. ECF
35, at 41:16-17. At the same time, however, the press release announcing the termination of the
REL contracts stated that the Department “plans to enter into new contracts that will satisfy the
statutory requirements[.]” REL Press Release. And though the vast majority of the
Comprehensive Centers grants were cancelled, two out of eighteen were still left operational. See
Comprehensive Centers Press Release.

The picture the Court has before it is therefore mixed and incomplete. On the one hand,
Defendants have yet to articulate a clear plan for, let alone provide evidence of, moving forward
with either program. On the other hand, some of the government’s public statements and the
partial continuation of at least some grants, as well as the reinstatement of relevant employees

within the Department, suggest that wholesale cessation of the Comprehensive Centers and RELs

| 22

Case 8:25-cv-01154-BAH Document 41 Filed 06/11/25 - Page 23 of 26
is not a foregone conclusion. At this juncture, the record is too underdeveloped to permit the Court
to fully and reliably assess the imminence of irreparable harm to the Plaintiffs."
Ui. Remaining Winter Factors

It bears noting that in declining to issue a preliminary injunction, the Court is not denying
that Plaintiffs are likely to show success on the merits on their Program Claims, as the available
evidence does suggest that the decision to shutter the Comprehensive Centers and RELs may very
well represent a final agency action that flatly contradicts the express direction of Congress. Cf
. Rhode Island v. Trump, No. 1:25-ev-128, --- F, Supp. 3d ---, 2025 WL 1303868, at *12—14 (DRI.
May 6, 2025) (finding that plaintiffs were likely to show that unilateral administrative termination
of grant programs established by Congress and funded through congressional appropriations both
offended the constitutional separation of powers and was contrary to law under the APA); AIDS
Vaccine Advoc, Coal. v. Dep’t of State, Civ. No. .25-00400, --- F. Supp. 3d ---, 2025 WL- 752378,
at *17 (D.D.C. Mar. 10, 2025) (determining that plaintiffs were likely to succeed on their claims
that administrative suspension of all congressionally appropriated foreign aid violated the
separation of powers); Cmty. Legal Servs in E. Palo Alto v. Dep t of Health and Hum. Servs., No.
25-cv-02847, --- F. Supp. 3d ---, 2025 WL 1233674, at *9 (N.D. Cal. Apr. 29, 2025) (finding
plaintiffs likely to succeed on their claims that administrative suspension of all funding for
unaccompanied children in immigration proceedings violated the Trafficking Victims Protection

Act (“TVPRA”) and. was therefore contrary to law under the APA).

'7 Tt also bears mentioning that the Fourth Circuit noted in Sustainability Institute that ordering the -
government to refund terminated programs at the preliminary injunction stage may represent an
“irreparable harm” fo the government in that it would be “forced to disburse funds from a finite
appropriation and will not be able to recoup those funds once expended.” Sustainability Inst., 2025
WL 1587100, at *2 (citing California, 145 S. Ct. at 969).

23

Case 8:25-cv-01154-BAH Document 41 Filed 06/11/25 Page 24 of 26

Moreover, weighing the equities and the public interest arguably tips in favor of Plaintiffs,
as Defendants are not harmed by a court’s issuance of a preliminary injunction preventing it from
implementing activities likely to be found unconstitutional, Leaders of a Beautiful Struggle v.
Balt. Police Dep’t, 2 F.4th 330, 346 (4th Cir. 2021). Rather, there is “substantial” public interest -
in “having governmental agencies abide by the federal laws that govern their existence and
operations.” League of Women Voters v. Newby, 838 F.3d 1, 12 (D.C. Cir. 2016). And regardless
of whether their harms are redressable by their proposed remedy or immediate enough to justify a
preliminary injunction, Plaintiffs have. alleged several harms that threaten their operation and
ability to enact their mission. See ECF 16-3, at 10 430; ECE 16-4, at 13 ] 36. Defendants respond
that it is in the public interest'to end discrimination (presumably referring to “DEI”), but they do
not actually provide evidence of the supposedly unlawful practices found to have occurred. Even
the press releases detailing the purportedly “woke” programming is vague and provides little
supporting evidence of the extent of such practices. !%

Thus, while the Court declines to issue a preliminary injunction, it nonetheless recognizes

that an expedited schedule for the resolution of this case is appropriate here and is convinced that

the relevant administrative record is likely to be concise and manageable. As such, the Court

'8 The press release announcing the termination of eighteen Comprehensive Centers grants alleged
that the funding had been used to promote “radical agendas,” such as teaching on “race-based
discrimination and gender identity ideology.” Comprehensive Centers Press Release. This press
release contained four links purporting to show evidence of such conduct, with each link leading
to posts on X featuring short excerpts from training videos or, in one instance, a brief excerpt from
a training paper. Jd At the hearing, Plaintiffs contended both that they were not involved in any
of the challenged conduct and that such conduct occurred in prior Comprehensive Centers that no
longer exist. ECF 35, at 30:21-31:2. The Department’s press release concerning the termination
of the ten RELs merely said that the contracts represented “wasteful and ideologically driven”
“woke spending” and did not provide any links. REL Press Release.

24

Case 8:25-cv-01154-BAH Document 41 . Filed 06/11/25 Page 25 of 26 |

intends to accelerate a resolution on the merits of the case, with a desired deadline in early to mid-

July for the parties to complete all filings. The schedule will be as follows:

e Deadline to file Administratrve Record June 18, 2025
_ © Deadline for Cross Motions for Summary Judgment July 9, 2025
° Deadline for Responses July 16, 2025

If the need to change the schedule arises, the parties are directed to confer and jointly
submit a proposed modification for the Court’s consideration. Absent agreement of the parties,
there will be no change to the proposed schedule.

B. Mandamus and Ultra Vires Claim against DOGE

Asa final matter, the Court addresses together the remaining claims upon which Plaintiffs
have moved, beginning with the u/tra vires claim against DOGE. The Court cannot conclude that
Plaintiffs have shown they are likely to succeed on the merits of this claim. Though Plaintiffs
point to the characterization of the cancellations as “savings” on DOGE’s website, ECF 35, at
34:7-13, the Court is cognizant that it may well be the case that the DOE defendants already shared
the same views and priorities as DOGE, suggesting that the terminations were not necessarily at
the instigation of DOGE, and thus minimizing the likelihood of success on the DOGE claim. See
Am. Ass’n of Colls. for Tchr. “Educ vy. McMahon, Civ. No. 25-702-JRR, --- F. Supp. 3d ---, 2025
WL 833917, at *16 n.11 (D. Md. Mar. 17, 2025).

Nor isa writ of mandamus warranted in this case. As indicated supra, a writ of mandamus
may issue only when there is no other relief available to a petitioner. In re Murphy-Brown, 907
F.3d at 788. Moreover, a petitioner must show they have a “clear and indisputable” right to the
relief requested. Cheney, 542 U.S. at 380-81. Given the foregoing analysis, the Court cannot

conclude that Plaintiffs have made such a showing, and mandamus is therefore unavailable.

25

Case 8:25-cv-01154-BAH Document 41 Filed 06/11/25 Page 26 of 26

IV. CONCLUSION

For the foregoing reasons, Plaintiffs’ motion for a preliminary injunction is DENIED.

A separate implementing Order will issue.

Dated: June 11, 2025 /s/

Brendan A. Hurson
United States District Judge

26

